                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 25-5243                                                September Term, 2024
                                                                     1:25-cv-00306-RDM
                                                      Filed On: July 11, 2025
Refugee and Immigrant Center for Education
and Legal Services, et al.,

             Appellees

      v.

Kristi Noem, Secretary of the U.S.
Department of Homeland Security, in her
official capacity, et al.,

             Appellants


      BEFORE:       Millett, Pillard, and Katsas, Circuit Judges

                                        ORDER

       Upon consideration of the emergency motion for stay pending appeal, which
includes a request for an administrative stay, the opposition thereto, and the reply; and
the motions to participate as amici curiae and the lodged amicus briefs, it is

        ORDERED that the district court’s July 2, 2025, orders be administratively stayed
pending further order of the court except as to the named individual plaintiffs.
Appellants represented in the district court that they will not employ Presidential
Proclamation 10888 “as a basis for removal of any of the named Plaintiffs currently in
the United States during the pendency of this litigation.” Resp. to Emergency Mot. to
Stay Removal [Dkt. 21] at 1. The purpose of this administrative stay is to give the court
sufficient opportunity to consider the emergency motion for stay pending appeal and
should not be construed in any way as a ruling on the merits of that motion. See D.C.
Circuit Handbook of Practice and Internal Procedures 33 (2024). It is
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      FURTHER ORDERED that the motions to participate as amici curiae be granted.
The Clerk is directed to file the lodged amicus briefs.

                                    Per Curiam


                                                      FOR THE COURT:
                                                      Clifton B. Cislak, Clerk

                                              BY:     /s/
                                                      Selena R. Gancasz
                                                      Deputy Clerk




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